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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 UMG RECORDINGS, INC., et al.,

       Plaintiffs,

 v.                                         Case No. 8:19-cv-00710-MSS-TGW

 BRIGHT HOUSE NETWORKS, LLC,

       Defendant.


  DEFENDANT BRIGHT HOUSE NETWORKS, LLC’S OPPOSITION TO PLAINTIFFS’
     MOTION FOR LEAVE TO SUBMIT A THREE-PAGE REPLY IN FURTHER
  SUPPORT OF THEIR MOTION TO DENY WAYNE COLEMAN’S DESIGNATION AS
          A QUALIFIED PERSON UNDER THE PROTECTIVE ORDER
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        There is no good cause to allow Plaintiffs to submit a reply in support of their motion

 objecting to BHN’s designation of Mr. Coleman as a Qualified Person when the parties have

 already provided their full positions on this dispute.

        Plaintiffs claim the reply is justified based upon the continued meet and confer discussions

 that occurred after filing. But it was Plaintiffs’ decision to file their motion in the midst of

 negotiations. Plaintiffs never asked BHN whether it would extend the timing set forth in the

 Protective Order for filing an objection in order to complete the discussions, which BHN would

 have allowed. Plaintiffs’ own authority supports that this is improper. Clements v. St. Johns Cty.

 Sheriff's Office, No. 3:07-CV-1017-J-25JRK, 2008 WL 11336601, at *2 (M.D. Fla. Dec. 5, 2008)

 (denying motion for leave to file a reply and noting that “[t]he purpose of a reply is to address legal

 argument raised in the opposing party’s response, not to introduce new information for the

 [c]ourt’s consideration that was not initially included, for whatever reason.”).

        Plaintiffs’ procedural maneuvering aside, their most recent proposal went beyond

 Plaintiffs’ concerns raised during the meet and confer discussions and in Plaintiffs’ underlying

 motion, seeking to impose a requirement that Mr. Coleman essentially be precluded from using in

 this case any non-public information learned or knowledge gained throughout his career. Mr.

 Coleman agrees to abide by all obligations, including any governing protective orders and non-

 disclosure agreements, and has offered to re-affirm his intent not to deviate from his normal

 practice, meaning that he will: (i) not use any confidential information learned in this case to recruit

 new clients for royalty audits (which is consistent with his normal practice where clients wanting

 to institute royalty audits against Plaintiffs for being underpaid initially contact Mr. Coleman for

 assistance), and (ii) will not recruit class members for class action cases (which he has never done).

 ECF 152-5 (Coleman Decl.), ¶¶ 8-14. However, to the extent Mr. Coleman has learned something



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 during his nearly 50-year career that Plaintiffs unilaterally deem “non-public,” there is no basis to

 preclude him from using that information in connection with this case—whether it be as a

 consultant to BHN’s outside counsel or as a testifying expert.

         Plaintiffs’ proposal amounts to an overly-broad, ill-defined effort to impose a gag order,

 which has no place in an objection under the Protective Order. It is instead an improper attempt

 to limit BHN’s ability to use Mr. Coleman to defend itself in this case. Indeed, the Protective

 Order covers only the provision of documents designated Highly Confidential – Attorneys’ Eyes

 Only (“HC-AEO”) to proposed consultants/experts—nothing else. Plaintiffs have not explained

 how Mr. Coleman’s non-specific use of “non-public” information that he has learned from his

 experience or prior engagements implicates his separate provision of documents designated HC-

 AEO and would therefore be covered by the objection procedure in the Protective Order.

         Plaintiffs also seek leave to address generally what they claim are “mischaracterizations of

 law and facts in BHN’s Opposition” and specifically that “a misuse of confidential information

 results in ‘serious harm’ only when that information is disclosed to a party’s direct competitor.”

 But as BHN outlined in its opposition (ECF 152 at 6-7), the cases Plaintiffs cite include scenarios

 in which information is provided to a direct competitor—which is not the case here. Plaintiffs’

 only other authority in their motion supports that no reply is warranted here. Gian Biologics, LLC

 v. CellMedix Holdings, LLC, No. 2:15-CV-645-FTM-99CM, 2016 WL 9525229, at *1 (M.D. Fla.

 Oct. 5, 2016) (denying a plaintiff’s unopposed motion for leave to file a reply, despite the plaintiff’s

 argument that the defendants misrepresented and mischaracterized documents and facts.).

         Based on the foregoing, Plaintiffs’ motion for leave to file a reply should be denied.

  August 14, 2020

                                                        Respectfully submitted,

                                                        s/ Erin R. Ranahan
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  Charles K. Verhoeven (pro hac vice)             Erin R. Ranahan (pro hac vice)
  David Eiseman (pro hac vice)                    WINSTON & STRAWN LLP
  QUINN EMANUEL URQUHART &                        333 S. Grand Avenue
  SULLIVAN, LLP                                   Los Angeles, CA 90071
  50 California Street, 22nd Floor                (213) 615-1933 (telephone)
  San Francisco, CA 94111                         (213) 615-1750 (facsimile)
  (415) 875-6600 (telephone)                      E-mail: eranahan@winston.com
  (415) 875-6700 (facsimile)
  E-mail: charlesverhoeven@quinnemanuel.com       Michael S. Elkin (pro hac vice)
  E-mail: davideiseman@quinnemanuel.com           Thomas Patrick Lane
                                                  Seth E. Spitzer
  Andrew H. Schapiro (pro hac vice)               WINSTON & STRAWN LLP
  QUINN EMANUEL URQUHART &                        200 Park Avenue
  SULLIVAN, LLP                                   New York, NY 10166
  191 N. Wacker Drive, Suite 2700                 (212) 294-6700 (telephone)
  Chicago, IL 60606                               (212) 294-4700 (facsimile)
  (312) 705-7400 (telephone)                      E-mail: melkin@winston.com
  (312) 705-7401 (facsimile)                      E-mail: tlane@winston.com
  E-mail: andrewschapiro@quinnemanuel.com         E-mail: sspitzer@winston.com

  GUNSTER, YOAKLEY &                              Jennifer A. Golinveaux (pro hac vice)
  STEWART, P.A.                                   WINSTON & STRAWN LLP
  William J. Schifino, Jr.,                       101 California Street, 35th Floor
  Florida Bar Number 564338                       San Francisco, CA 94111-5840
  John Schifino                                   (415) 591-1506 (telephone)
  Florida Bar Number 72321                        (415) 591-1400 (facsimile)
  Ryan Lee Hedstrom,                              E-mail: jgolinveaux@winston.com
  Florida Bar Number 124724
  401 E. Jackson St., Ste. 2500                   Attorneys for Defendant
  Tampa, FL 33602                                 Bright House Networks, LLC
  (813) 228-9080 (telephone)
  (813) 228-6739 (facsimile)
  E-mail: wschifino@gunster.com
  E-mail: rhedstrom@gunster.com
  E-mail: jschifino@gunster.com




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                                 CERTIFICATE OF SERVICE

        I certify that on August 14, 2020, a true and correct copy of the foregoing was filed with

 the Court via CM/ECF which will send a notice of electronic filing to the parties of record.

                                      s/ Erin R. Ranahan
                                      Erin R. Ranahan




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